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                     Exhibit 7
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             Exhibit 7
Claim 1 of U.S. Patent No. 8,467,366




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                                 Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.152 Filed 03/29/22 Page 3 of 27
                                                             U.S. Patent No. 8,467,366: Claim 1(a)
"In a multi-cell orthogonal frequency division multiple access (OFDMA) wireless communication system comprising a plurality of base stations and mobile
  stations, a mobile station configured to communicate with a serving base station in a cell via a communication channel, the mobile station comprising: "
 1. In a multi-cell orthogonal frequency       Ford’s Accused Products include vehicles equipped with components and/or devices that enable connectivity
 division multiple access (OFDMA)              to 4G/LTE networks and services, including services sold and provided by Ford.
 wireless communication system
 comprising a plurality of base stations and To the extent the preamble is considered a limitation, Ford’s Accused Products meet the preamble of the ’366
 mobile stations, a mobile station             patent. E.g.,
 configured to communicate with a serving
 base station in a cell via a communication The LTE specification (Series 36, Release 8) supports user equipment (UE) to perform a random access
 channel, the mobile station comprising:       procedure.

                                             For example, release 8 of the 36 series 3GPP specifications was frozen in December of 2008 and that release
                                             was used as the basis for the first wave of LTE equipment. The LTE marketplace currently supports a mix of
                                             releases from Release 8 through Release 15. For ease of review release 8 of the LTE specification is cited
                                             below, but similar cites are available for each corresponding release on the market.

                                             The LTE network has many eNodeBs, base stations.




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                                Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.153 Filed 03/29/22 Page 4 of 27
                                                           U.S. Patent No. 8,467,366: Claim 1(a)
"In a multi-cell orthogonal frequency division multiple access (OFDMA) wireless communication system comprising a plurality of base stations and mobile
  stations, a mobile station configured to communicate with a serving base station in a cell via a communication channel, the mobile station comprising: "




                                             See e.g., 3GPP TS 36.300 V8.12.0 at pg. 15.
                                             The user equipment (UE), mobile station, communicates with a corresponding eNodeB.




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                                Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.154 Filed 03/29/22 Page 5 of 27
                                                           U.S. Patent No. 8,467,366: Claim 1(a)
"In a multi-cell orthogonal frequency division multiple access (OFDMA) wireless communication system comprising a plurality of base stations and mobile
  stations, a mobile station configured to communicate with a serving base station in a cell via a communication channel, the mobile station comprising: "




                                             See e.g., 3GPP TS 36.300 V8.12.0 at pg. 18.

                                             LTE uses OFDMA for both the downlink and the uplink. For the uplink, LTE uses a specific type of OFDM
                                             referred to a discrete Fourier Transform Spread (DFTS)-OFDM.




                                             See e.g., 3GPP TS 36.300 V8.12.0 at pg. 25.




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                                Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.155 Filed 03/29/22 Page 6 of 27
                                                           U.S. Patent No. 8,467,366: Claim 1(a)
"In a multi-cell orthogonal frequency division multiple access (OFDMA) wireless communication system comprising a plurality of base stations and mobile
  stations, a mobile station configured to communicate with a serving base station in a cell via a communication channel, the mobile station comprising: "




                                             See e.g., 3GPP TS 36.300 V8.12.0 at pgs. 27-28.

                                             In LTE, data is transmitted using the physical uplink shared channel.




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 13.




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                                Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.156 Filed 03/29/22 Page 7 of 27
                                                              U.S. Patent No. 8,467,366: Claim 1(b)
 "an apparatus configured to transmit a data signal to the serving base station in the cell over a data subchannel, wherein the data subchannel comprises a
                                  plurality of adjacent or non-adjacent subcarriers within the communication channel; and"
an apparatus configured to transmit a data Ford’s Accused Products each include an apparatus configured to transmit a data signal to the serving base
signal to the serving base station in the       station in the cell over a data subchannel, wherein the data subchannel comprises a plurality of adjacent or non-
cell over a data subchannel, wherein the        adjacent subcarriers within the communication channel. E.g.,
data subchannel comprises a plurality of
adjacent or non-adjacent subcarriers            In LTE, data is transmitted using the physical uplink shared channel.
within the communication channel; and




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg. 13.

                                              The LTE uplink is divided into physical resource blocks (PRBs). Each PRB has 12 adjacent subcarriers.




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                             Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.157 Filed 03/29/22 Page 8 of 27
                                                          U.S. Patent No. 8,467,366: Claim 1(b)
"an apparatus configured to transmit a data signal to the serving base station in the cell over a data subchannel, wherein the data subchannel comprises a
                               plurality of adjacent or non-adjacent subcarriers within the communication channel; and"




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pg. 13.
                                            The eNodeB assigns the UE a set of contiguous or adjacent PRBs using PDCCH format 0, thereby forming a
                                            data subchannel.




                                            See e.g., 3GPP TS 36.213 V8.8.0 at pg. 55.


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                             Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.158 Filed 03/29/22 Page 9 of 27
                                                          U.S. Patent No. 8,467,366: Claim 1(b)
"an apparatus configured to transmit a data signal to the serving base station in the cell over a data subchannel, wherein the data subchannel comprises a
                               plurality of adjacent or non-adjacent subcarriers within the communication channel; and"




                                            See: Rumney, Moray, LTE and the Evolution to 4G Wireless § 3.2.8.3 at pg. 103.




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                              Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.159 Filed 03/29/22 Page 10 of 27
                                                            U.S. Patent No. 8,467,366: Claim 1(c)
    "an apparatus configured to transmit a ranging signal to the serving base station in the cell over a ranging subchannel for random access, wherein:"
an apparatus configured to transmit a         Ford’s Accused Products each include an apparatus configured to transmit a ranging signal to the serving base
ranging signal to the serving base station    station in the cell over a ranging subchannel for random access. E.g.,
in the cell over a ranging subchannel for
random access, wherein:                       The UE transmits a preamble, ranging signal, to the eNodeB over a physical random access channel.




                                             See e.g., 3GPP TS 36.300 V8.7.0 at pgs. 24 and 25.

                                             The eNodeB defines physical frequency resources, ranging subchannel, for the PRACH. The UE also receives
                                             a random access response.




                                             See e.g., 3GPP TS 36.213 V8.8.0 at pg. 16.



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                         Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.160 Filed 03/29/22 Page 11 of 27
                                                       U.S. Patent No. 8,467,366: Claim 1(c)
"an apparatus configured to transmit a ranging signal to the serving base station in the cell over a ranging subchannel for random access, wherein:"




                                         See e.g., 3GPP TS 36.211 V8.9.0 at pg. 35.

                                         The random access response has an uplink timing adjustment, which is adjusted based on the UE’s range to the
                                         eNodeB.




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                                                       U.S. Patent No. 8,467,366: Claim 1(c)
"an apparatus configured to transmit a ranging signal to the serving base station in the cell over a ranging subchannel for random access, wherein:"




                                         See e.g., 3GPP TS 36.321 V8.12.0 at pg. 17.




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                              Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.162 Filed 03/29/22 Page 13 of 27

                                                           U.S. Patent No. 8,467,366: Claim 1(d)
"the ranging signal is formed from a ranging sequence selected from a set of ranging sequences associated with the cell for identifying the mobile station;"
 the ranging signal is formed from a          The ranging signal used with Ford’s Accused Products is formed from a ranging sequence selected from a set
 ranging sequence selected from a set of      of ranging sequences associated with the cell for identifying the mobile station. E.g.,
 ranging sequences associated with the cell
 for identifying the mobile station;          The transmitted PRACH preamble is a selected Zadoff-Chu sequence. Each cell has a set of 64 sequences.




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 39.


                                             In response to the transmitted preamble, the eNodeB sends back the RA-preamble identifier, so that the UE
                                             knows its selected preamble was received by the eNodeB and the received random access response is for the
                                             UE.




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                              Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.163 Filed 03/29/22 Page 14 of 27

                                                          U.S. Patent No. 8,467,366: Claim 1(d)
"the ranging signal is formed from a ranging sequence selected from a set of ranging sequences associated with the cell for identifying the mobile station;"




                                              See e.g., 3GPP TS 36.300 V8.7.0 at pgs. 52 and 53.


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                                                          U.S. Patent No. 8,467,366: Claim 1(d)
"the ranging signal is formed from a ranging sequence selected from a set of ranging sequences associated with the cell for identifying the mobile station;"




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                                                          U.S. Patent No. 8,467,366: Claim 1(d)
"the ranging signal is formed from a ranging sequence selected from a set of ranging sequences associated with the cell for identifying the mobile station;"




                                              See e.g., 3GPP TS 36.300 V8.7.0 at pgs. 54 and 55.




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                             Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.166 Filed 03/29/22 Page 17 of 27

                                                            U.S. Patent No. 8,467,366: Claim 1(e)
               "the ranging signal lasts over a period of one or multiple orthogonal frequency division multiplexing (OFDM) symbols and"
the ranging signal lasts over a period of      The ranging signal used with Ford’s Accused Products lasts over a period of one or multiple orthogonal
one or multiple orthogonal frequency           frequency division multiplexing (OFDM) symbols. E.g.,
division multiplexing (OFDM) symbols
and                                            The PRACH preamble has a defined length, such as 3168 TS+ 24576 TS.




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 33.

                                             The time unit Ts is 1/(15000*2048) seconds. The preamble length is for configurations 0-3 from 0.9 to 2.28
                                             ms.




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                                             U.S. Patent No. 8,467,366: Claim 1(e)
"the ranging signal lasts over a period of one or multiple orthogonal frequency division multiplexing (OFDM) symbols and"




                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 9.




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                                             U.S. Patent No. 8,467,366: Claim 1(e)
"the ranging signal lasts over a period of one or multiple orthogonal frequency division multiplexing (OFDM) symbols and"




                             See: Dahlman, Parkvall, Skold, 4G LTE-Advanced Pro and The Road to 5G, Third Edition, § 11.3.1.2.

                                                           18
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                                             U.S. Patent No. 8,467,366: Claim 1(e)
"the ranging signal lasts over a period of one or multiple orthogonal frequency division multiplexing (OFDM) symbols and"

                             The LTE frame has 0.5 ms slots.




                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 10.

                             Each slot has 6 or 7 symbols, so the duration of a symbol is 0.083 ms or 0.071 ms.




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                                             U.S. Patent No. 8,467,366: Claim 1(e)
"the ranging signal lasts over a period of one or multiple orthogonal frequency division multiplexing (OFDM) symbols and"




                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 13.




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                                                           U.S. Patent No. 8,467,366: Claim 1(f)
                                  "the ranging signal exhibits a low peak-to-average power ratio in the time domain; and"
the ranging signal exhibits a low peak-to- The ranging signal used with Ford’s Accused Products exhibits a low peak-to-average power ratio in the time
average power ratio in the time domain;       domain. E.g.,
and
                                           The RACH preamble is generated from a Zadoff-Chu sequence.




                                           See e.g., 3GPP TS 36.211 V8.9.0 at pg. 39.

                                           Zadoff-Chu sequences have a low peak-to-average power ratio.




                                           See: Dahlman, Parkvall, Skold, 4G LTE-Advanced Pro and The Road to 5G, Third Edition, § 11.3.1.4.




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                           U.S. Patent No. 8,467,366: Claim 1(f)
  "the ranging signal exhibits a low peak-to-average power ratio in the time domain; and"




              See: Sesia, Toufik, Baker, LTE, The UMTS Long Term Evolution from Theory to Practice (2009), § 7.2.1.




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                            Case 2:22-cv-11402-TGB ECF No. 1-7, PageID.173 Filed 03/29/22 Page 24 of 27

                                                       U.S. Patent No. 8,467,366: Claim 1(g)
               "the ranging subchannel comprises at least one block of subcarriers within the communication channel and "
the ranging subchannel comprises at least The ranging subchannel used with Ford’s Accused Products comprises at least one block of subcarriers within
one block of subcarriers within the       the communication channel. E.g.,
communication channel and
                                          The PRACH uses 6 PRBs.




                                           See e.g., 3GPP TS 36.213 V8.8.0 at pg. 16.


                                           The 6 PRBs used for the PRACH are divided such as into 864 subcarriers for preamble formats 0-3.




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                                    U.S. Patent No. 8,467,366: Claim 1(g)
"the ranging subchannel comprises at least one block of subcarriers within the communication channel and "




                         Source: Kahn, Farooq, LTE for 4G Mobile Broadband § 10.2.




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power levels of subcarriers at both ends of   The power levels of subcarriers at both ends of a block are set to zero. E.g.,
a block are set to zero.
                                              Out of the 864 subcarriers within the six PRBs, only 839 subcarriers are used with 12.5 subcarriers on each
                                              side are nulled.




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg. 40.




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg. 43.
                                                                          25
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            Source: Kahn, Farooq, LTE for 4G Mobile Broadband § 10.2.




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